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                    UNITED STATES DISTRICT COURT
                    WESTERN DISTRICT OF MICHIGAN


JIMMY HOFFMEYER,                                    Case No.
as NEXT OF FRIEND
of JURNEE HOFFMEYER,                                Hon.

      Plaintiffs,

vs

MOUNT PLEASANT PUBLIC SCHOOLS,
LIBRARIAN MOGGS, and TEACHER
ASSISTANT JACOBS,
in their individual and official capacities,
jointly and severally,

     Defendants.
________________________________________________________________/
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_________________________________________________________________/

                                COMPLAINT
                             AND JURY DEMAND



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      NOW      COMES       Plaintiff,    Jimmy Hoffmeyer,     as   Next   of   Friend

of Jurnee Hoffmeyer, in accordance with FRCP 17, by and through his Attorney

Herbert A. Sanders of The Sanders Law Firm, P.C., and for their Complaint state as

follows:

                                        JURISDICTION

1.    This is a civil rights action in which Plaintiff seeks relief for Defendants’

      violations of rights secured by the Civil Rights Act of 1871, 42 U.S.C. § 1983,

      by the Fourth and Fourteenth Amendments to the United States Constitution,

      the Michigan Civil Rights Act, and the common law of the State of Michigan.

      Plaintiff seeks compensatory, exemplary, and punitive damages, an award of

      costs, interest and attorney’s fees, and such other and further relief as this

      Court deems just and proper.

2.    This Court has jurisdiction pursuant to 28 U.S.C. § 1331 wherein a federal

      question of law is presented by this cause of action.

3.    Plaintiff Jimmy Hoffmeyer is an African American man, and a resident of the

      State of Michigan.

4.    Plaintiff Jurnee Hoffmeyer is an African American minor child, and the

      daughter of Jimmy Hoffmeyer.

5.    Defendant Mount Pleasant Public Schools is an independent municipal

      corporation established by the Michigan Revised School Code, Act 431 of


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      1976, MCL §§ 380.1 et. seq., located in the City of Mt Pleasant, State of

      Michigan.

6.    Librarian Moggs, at all times relevant hereto was an employee of Mt Pleasant

      Public Schools.

7.    Teacher Assistant Jacobs, at all times relevant hereto was an employee of Mt

      Pleasant Public Schools.

8.    The events giving rise to this cause of action occurred in Mt Pleasant

      Michigan, within the Western District of Michigan.

9.    The amount in controversy exceeds $1,000,000.00 exclusive of interest, cost,

      and attorney fees.


                                     FACTS

10.   Jurnee Hoffmeyer is a seven-year old African-American girl.

11.   At all times relevant hereto, she was a student at Ganiard Elementary, located

      within the Mt Pleasant Public Schools District.

12.   On or about March 24, 2021, a female student cut Jurnee’s hair while they

      were on the school bus, without Jurnee’s permission.

13.   The student used scissors she had taken from a classroom at the school.

14.   Thereafter, Mr. Hoffmeyer took his daughter to a beautician/barber, who

      provided Jurnee with an asymmetrical haircut in an effort to style her hair

      after the unauthorized haircut by the fellow student.

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15.   A couple of days later, Jurnee returned home with nearly all of her hair cut

      off down to a couple of inches from her scalp.

16.   Jurnee’s Library Teacher, Ms. Mogg had cut off her remaining hair with the

      assistance and/or acquiescence of Ms. Jacobs.

17.   Jurnee had long, curly hair prior to it being cut off.

18.   Ms. Mogg and Ms. Jacobs cut Jurnee’s hair without Jurnee’s permission, or

      the permission of her parents.

19.   Based upon information and belief, the Defendants had a policy, practice, or

      procedure that allowed the Defendants to cut the hair of minor African

      American children without the child and/or the parent’s consent.

20.   At all times relevant hereto, Defendants acted under color of state law.

21.   The Defendants were aware of, or should have been aware of the policies,

      practices, and procedures that resulted in a deprivation of the Plaintiff’s

      Constitutional rights.

22.   Though the Defendants were aware of the policies, practices, and procedures

      that ultimately resulted in a deprivation of the Plaintiff’s Constitutional rights,

      the Defendants failed to appropriately address same.

23.   The Defendants failed to properly train, monitor, direct, discipline, and

      supervise their employees, and knew or should have known that the

      employees would engage in the complained of behavior given the improper


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      training, customs, procedures, and policies, and the lack of discipline that

      existed for employees.

24.   This cause of action is brought against Defendants in their individual

      capacities and their official capacities.

25.   The Defendants are not entitled to qualified immunity, or governmental

      immunity.

26.   The conduct of Defendants amounted to a "deliberate indifference" to a risk

      of injury to the Plaintiff.

27.   The conduct of Defendants was "obdurate" or "wanton," constituting a

      recklessness or callous neglect for the safety of Plaintiff.

28.   The Defendants’ deliberate indifference was the "moving force" behind the

      injuries suffered by the Plaintiff.

29.   The Defendants violated clearly established constitutional rights of the

      Plaintiff, and are therefore not subject to qualified immunity.

30.   The facts as delineated herein, when viewed in the light most favorable to the

      Plaintiff, would permit a reasonable juror to find that: (1) the Defendants

      violated Plaintiff’s constitutional rights; and (2) that the rights were clearly

      established.

31.   The contours of Plaintiff’s rights were sufficiently clear that a reasonable

      official would understand that what they were doing violated those rights.


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32.   By refusing or neglecting to prevent such deprivations and denials to Plaintiff

      as delineated above, Defendants deprived Plaintiff of her rights, privileges,

      and immunities as guaranteed by the Constitution of the United States,

      including, but not limited to the Fourth, Fifth and Fourteenth Amendments to

      the Constitution.



                            COUNT I
                 VIOLATION OF THE FOURTEENTH
               AMENDMENT TO THE U.S. CONSTITUTION
               ACTIONABLE PURSUANT TO 42 USC §1983

33.   Plaintiff hereby incorporates by reference each and every allegation in the

      preceding paragraphs as though fully set forth herein.

34.   Pursuant to the Fourteenth Amendment:

        All persons born or naturalized in the United States, and subject
        to the jurisdiction thereof, are citizens of the United States and of
        the state wherein they reside. No state shall make or enforce any
        law which shall abridge the privileges or immunities of citizens of
        the United States; nor shall any state deprive any person of life,
        liberty, or property, without due process of law; nor deny to any
        person within its jurisdiction the equal protection of the laws.

35.   Pursuant to 42 USC § 1983:

        Every person, who under color of any statute, ordinance,
        regulation, custom or usage of any state or territory or the District
        of Columbia subjects or causes to be subjected any citizen of the
        United States or other person within the jurisdiction thereof to the
        deprivation of any rights, privileges or immunities secured by the
        constitution and law shall be liable to the party injured in an
        action at law, suit in equity, or other proceeding for redress…

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36.   Defendants, through their own actions and/or policies, practices, procedures

      and supervision, or lack thereof, violated clearly established law and no

      reasonable official would believe the actions described herein were lawful.

37.   At all times relevant to this Complaint, Defendants, had in effect policies,

      practices, and customs that condoned and fostered the unconstitutional

      conduct of Defendants.

38.   Defendants violated Plaintiff’s federal constitutional rights secured by the

      14th amendment to be free from discrimination, harassment and retaliation as

      a result of her race.

39.   Defendants are liable for the violation of Plaintiff’s federal constitutional

      rights pursuant to 42 U.S.C. § 1983 in failing to provide proper supervision

      and training to prevent this type of unlawful, discriminatory abuse.

40.   As a direct and proximate result of the violation of Plaintiff’s rights as alleged,

      she has suffered mental and emotional distress, embarrassment, humiliation,

      anxiety about the future, damage to her reputation, and loss of the ordinary

      pleasures of everyday life.




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                         COUNT II
                 DELIBERATE INDIFFERENCE –
                 VIOLATION OF DUE PROCESS
      AND THE 4TH AMENDMENT TO THE U.S. CONSTITUTION
            ACTIONABLE PURSUANT TO 42 USC §1983

41.   Plaintiffs repeat and re-allege the above paragraphs as though fully set forth

      herein.

42.   Defendants purposely and intentionally detained, accosted, assaulted,

      threatened physically abused, and battered the Plaintiff knowing that such use

      of force was unreasonable and unnecessary under the circumstances.

43.   Such actions constitute a violation under color of law of Plaintiff’s

      fundamental substantive due process rights under 42 U.S.C. § 1983 and the

      Fourth and Fourteenth Amendments to the United States Constitution.

44.   Plaintiff’s constitutionally protected rights that Defendants violated include

      her right to liberty protected in the substantive component of the Due Process

      Clause of the Fourth and Fourteenth Amendment, which includes personal

      safety, and her right to fair and equal treatment guaranteed and protected by

      the Equal Protection Clause of the Fourteenth Amendment.

45.   The Defendants owed Plaintiff a duty to act prudently and with reasonable

      care and to otherwise avoid the use of unnecessary, unreasonable, excessive

      coercion or force.

46.   The Defendants owed Plaintiff a duty to be treated equally and without regard


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      to race or color; however, Defendants breached this duty.

47.   The Defendants violated Plaintiff’s right to be free from punishment and

      deprivation of life and liberty without due process of law under the Fourth

      and Fourteenth Amendments to the United States Constitution and to be free

      from deliberate indifference as to all of said rights, by unjustifiably detaining,

      accosting, assaulting, threatening, physically abusing, and battering the

      Plaintiffs.

48.   As a direct and proximate result of each Defendants' acts and/or omissions,

      the Plaintiff suffered severe injury.

49.   As a direct result of Defendants’ acts, Plaintiffs have suffered injury and

      damages, including, but not limited to, physical injuries, pain, suffering,

      emotional distress, mental anguish, posttraumatic stress disorder, injuries to

      her reputation, humiliation, mortification, and embarrassment, all of which

      damages continue into the future.



                          COUNT III
                  DELIBERATE INDIFFERENCE
       TO THE CONSTITUTIONAL RIGHTS OF THE PLAINTIFFS
        THROUGH OFFICIAL CUSTOM, POLICY OR PRACTICE,
                IN VIOLATION OF 42 U.S.C. § 1983

50.   Plaintiff repeats and re-alleges the above paragraphs as though fully set forth

      herein.


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51.   Acting under color of law and pursuant to official policy, custom or practice,

      Defendants knowingly, recklessly, with gross negligence, and deliberate

      indifference failed to instruct, supervise, control, and discipline on a

      continuing basis the Defendant employees.

52.   The Defendants’ deprivation of Plaintiff’s rights pursuant to official policy,

      custom or practice are inclusive of, but not necessarily limited to:

         a. Treating African Americans with disdain and contempt;

         b. Accosting African Americans;

         c. Assaulting African Americans;

         d. Battering African Americans;

         e. Exemplifying cognitive dissonance as it relates to African Americans;

         f. Exemplifying implicit negative social cognition as it relates to African

            Americans;

         g. Failing to diagnose and treat cognitive dissonance and implicit negative

            social cognition when being exemplified negatively toward African

            Americans.

53.   It was the duty of the Defendants, to implement and enforce rules and

      guidelines related to the foreseeable use of force, and to prevent unethical,

      unwarranted, excessive, illicit and illegal use of force.

54.   It was the duty of Defendants to maintain official customs, policies, and


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      practices that were not violative of the Plaintiff’s civil and constitutional

      rights.

55.   Defendants, failed to implement and/or enforce said guidelines, failed to

      maintain official customs, policies, and practices that were not violative of the

      Plaintiff’s civil and constitutional rights, and said failures directly led to the

      foreseeable unlawful deprivation of Plaintiff’s civil rights.

56.   Defendants had power to prevent or aid in preventing the commission of the

      wrongs delineated herein; Defendants could have done so by reasonable

      diligence, but knowingly, recklessly, with gross negligence, and deliberate

      indifference failed or refused to do so.

57.   Defendant Mt Pleasant Public Schools directly or indirectly, under color of

      law, approved or ratified the unlawful, deliberate, malicious, reckless, and

      wanton conduct the Defendant employees.

58.   Said breach of Defendants’ duties was the proximate cause of Plaintiff’s

      injuries.

59.   The conduct of the Defendants cited above was grossly negligent, deliberately

      indifferent and so reckless that it demonstrated a substantial lack of concern

      for Plaintiff’s civil rights.

60.   As a direct result of Defendants’ acts, Plaintiff suffered injuries and damages,

      including, but not limited to, physical injuries resulting in, pain, suffering,


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      emotional distress, mental anguish, physical illness, medical expenses,

      injuries to reputation, humiliation, mortification, and embarrassment, all of

      which damages continue into the future.



                          COUNT IV
                    RACIAL DISCRMINATION
        IN VIOLATION OF THE MICHIGAN CIVIL RIGHTS ACT

61.   Plaintiffs repeat and re-allege the above paragraphs as though fully set forth

      herein.

62.   Defendants at all times relevant hereto, in accordance with MCL 37.1102 were

      a “place of public accommodation” and/or “place of public service” as an

      institution   whose    services,    facilities,   privileges,   advantages,   and

      accommodations were extended, offered, or otherwise made available to the

      public; and a public facility managed by or on behalf of the state, or a political

      subdivision, established to provide service to the public.

63.   In accordance with MCL 37.1102, Defendants had a duty to Plaintiff not to

      deny her the full and equal enjoyment of the goods, services, facilities,

      privileges, advantages, or accommodations of a place of public

      accommodation or public service because of her race.




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64.   Notwithstanding said duties and in willful violation thereof, the Defendants

      harassed and discriminated against Plaintiff, by subjecting her to humiliation

      and discrimination to which others were not subjected, all because of her race.

65.   Defendants breached each and every duty owed to the Plaintiff as delineated

      herein, by denying Plaintiff the benefits of the services, facilities, privileges,

      advantages, and accommodations of the Mt Pleasant Public Schools, and/or

      by subjecting her to discrimination to which others were not subjected.

66.   As a direct result of Defendants’ acts, Plaintiff has suffered injury and

      damages, including, but not limited to, physical injuries, pain, suffering,

      emotional distress, mental anguish, unlawful abuse, psychological counseling

      and treatment, posttraumatic stress disorder, physical illness, medical

      expenses, injuries to her reputation, humiliation, mortification, and

      embarrassment, all of which damages continue into the future.



                                 COUNT V
                            ETHNIC INTIMIDATION
                        IN VIOLATION OF MCL 750.147b

67.   Plaintiffs repeat and re-allege the above paragraphs as though fully set forth

      herein.




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68.   The Defendants maliciously, and with specific intent to intimidate or harass

      the Plaintiff, because of her race and color, threatened the Plaintiff by word or

      act; and caused physical contact with the Plaintiff.

69.   As a direct result of Defendants’ acts, Plaintiff has suffered injury and

      damages, including, but not limited to, physical injuries, pain, suffering,

      emotional distress, mental anguish, posttraumatic stress disorder, injuries to

      her reputation, humiliation, mortification, and embarrassment, all of which

      damages continue into the future.



                          COUNT VI
        INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

70.   Plaintiffs repeat and re-allege the above paragraphs as though fully set forth

      herein.

71.   The acts of Defendants as described above constitute intentional infliction of

      emotional distress.

72.   Defendants conduct, as set forth above was extreme and outrageous as to go

      beyond all possible bounds of decency and would be regarded as atrocious

      and utterly intolerable in a civilized community.

73.   The conduct of Defendants as described above was wanton and/or intentional.

74.   The acts of Defendants, as described above caused Plaintiff to suffer severe

      emotional distress and mental anguish.

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75.   Such conduct on the part of the Defendants rose to the level of intentional

      infliction of emotional distress.

76.   Defendants knew or should have known that such conduct would inflict severe

      emotional distress on the Plaintiffs.

77.   Such conduct did in fact inflict emotional distress upon the Plaintiff.

78.   As a direct and proximate result of Defendants’ wrongful acts, Plaintiff has

      suffered mental anguish, physical and emotional distress, humiliation and

      embarrassment, and loss of reputation.



                                  COUNT VII
                              ASSAULT & BATTERY

79.   Plaintiffs hereby re-allege and reasserts the allegations set forth in each

      preceding paragraph and incorporate same herein by reference.

80.   Defendants made an intentional and unlawful threat to do bodily injury to

      Plaintiff.

81.   The threat to Plaintiff was made under circumstances that created in her a

      well-founded fear of imminent peril.

82.   Defendants had the apparent ability to carry out the act if not prevented.

83.   The act was not prevented, and Defendants willfully and intentionally

      assaulted, and battered the Plaintiff.


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84.   As a direct result of Defendants’ acts, Plaintiff has suffered injury and

      damages, including, but not limited to, physical injuries, pain, suffering,

      emotional distress, mental anguish, psychological counseling and treatment,

      posttraumatic stress disorder, physical illness, medical expenses, injuries to

      her reputation, humiliation, mortification, and embarrassment, all of which

      damages continue into the future.



                              COUNT VIII
                       VIOLATION OF MICHIGAN’S
                     FREEDOM OF INFORMATION ACT

85.   Plaintiffs repeat and re-allege the above paragraphs as though fully set forth

      herein.

86.   On May 3, 2021, Plaintiff served a FOIA request on Defendant Mt Pleasant

      Public Schools seeking the production of public records.

87.   Thereafter, Defendant provided a final and incomplete response to the FOIA

      request.

88.   Defendant did not provide all of the documents requested because it

      arbitrarily, capriciously and wrongfully asserted that some of its documents

      were excludable from the purview of FOIA.

89.   Defendant is a public body as defined by MCL 15.232(d)(iii).




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90.   Plaintiff requested in writing that Defendant produce public records, as

      defined by MCL 15.232(e).

91.   All of the public records requests are non-exempt from disclosure.

92.   Defendant arbitrarily and capriciously violated the FOIA by wrongfully

      withholding, in whole or in part, full disclosure of the public records sought.

93.   Plaintiff has wrongfully and unnecessarily incurred attorney fees, costs, and

      related expenses in bringing this matter before this Court.



      WHEREFORE PLAINTIFFS REQUESTS that this court enter judgment

against Defendants as follows:

         a. compensatory damages in whatever amount Plaintiff is found to be

            entitled;

         b. punitive and exemplary damages commensurate with the wrong and

            Defendants’ ability to pay;

         c. an injunction prohibiting any further acts of retaliation, harassment or

            discrimination;

         d. an award of interest, costs, and reasonable attorney fees; and

         e. whatever other equitable relief appears appropriate at the time of trial.




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                                JURY DEMAND

     Plaintiff, through his Attorney, hereby requests a trial by jury.



                                              Respectfully submitted,


August 25, 2021                               /s/ Herbert A. Sanders
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